Case: 1:16-cv-02900 Document #: 105 Filed: 04/04/18 Page 1 of 1 PageID #:1264

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christy Griffith
                                   Plaintiff,
v.                                                     Case No.: 1:16−cv−02900
                                                       Honorable Elaine E. Bucklo
ContextMedia, Inc., et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 4, 2018:


        MINUTE entry before the Honorable Elaine E. Bucklo: Motion hearing held on
4/4/2018. Plaintiff's unopposed motion for preliminary approval class action settlement
[101] and its motion for leave to file excess pages [103] are granted. Notice deadline set
for 6/29/2018. Fee Petition due by 7/13/2018. Objections and Request exclusions set for
9/7/2018. Claims deadline set for 10/26/2018. In−Court Final Approval Hearing (Fairness
Hearing) is set for 11/16/2018 at 9:45 a.m. Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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refer to it for additional information.

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